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                                                                                                            :
                              IN THE UNITED STATES DISTRICT COURT
                               FOR THE WESTERN DISTRICT OF TEXAS                    2fli
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                                        EL PASO DIVISION                                            2      Pfl 2:
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 UNITED STATES OF AMERICA,                       §     CRIMINAL NO EP-13-C1thO-bff                         J
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                                                                                    BY
                                                 §
                       Plaintiff,                §     SUPE    RSE D ING
                                                 §     INDICTMENT
 v.                                              §
                                                 §     CTS 1-3: 18 U.S.C. § 1343 [Wire Fraud]
 MARCO ANTONIO DELGADO,                          §     CTS 4-10: 18 U.S.C. § 1956(a)(2)(B)(i)
 a.k.a. Marco Delgado Licon,                     §     [Laundering of Monetary Instruments]
                                                 §     CTS 11-19: 18 U.S.C. § 1957 [Engaging in
                       Defendant.                §     Monetary Transactions in Property Derived
                                                 §     from Specified Unlawful Activity]
                                                 §
                                                 §     Notice of Government's Demand for
                                                 §     Forfeiture

THE GRAND JURY CHARGES:
                                            COUNT ONE
                                             § 1343 - Wire Fraud)
                                    (18 U.S.C.

                                          INTRODUCTION
At all times relevant to this Indictment:

      1.   The defendant, MARCO ANTONIO DELGADO, was an attorney licensed in the State

           of Texas.

      2. On or about April 3, 2009, FGG Enterprises, LLC (hereinafter referred to as FGG) was

           incorporated as a limited liability company organized under the laws of the State of

           Nevada. The Articles of Incorporation identify F.J.G. as the sole owner and managing

           member of FGG.

      3. In 2009, the Comision      Federal de Electricidad (CFE), a Mexican state-owned utility

           company, announced a solicitation for bids for project No. 18164067-012-9 (hereinafter

           referred to as the Agua Prieta II Project) for the acquisition of power generating
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           equipment and for the provision of long-term maintenance services of said equipment to

           be installed at the Agua Prieta II power plant located in Agua Prieta, Sonora, Mexico.

     4.    In October of 2009, the defendant, MARCO ANTONIO DELGADO, on behalf of and

           as the legal representative of FGG, submitted a bid to CFE to provide the equipment and

           services for the Agua Prieta II Project.

     5.    In January of 2010, the Agua Prieta II Project contract was awarded to FGG and was

           signed by the defendant, MARCO ANTONIO DELGADO, as the legal representative

           of FGG; by a representative of CFE; and by a representative of Banco Nacional de

           Comercio Exterior, as the fiduciary of a trust for the administration of expenses. The

           amount of the contract was one hundred and twenty-one million dollars ($121,000,000).

           Pursuant to the contract, the payments from CFE to FGG were to be deposited into an

           FOG bank account located at a branch of Wells Fargo Bank in El Paso, Texas.

     6.    On or about March 3, 2010, the defendant, MARCO ANTONIO DELGADO, as a

           representative of FGG, sent a letter to CFE in which he directed a change of the location

           for the deposit of payments to FGG by instructing CFE to make the deposits to a bank

           account located in the Turks and Caicos Islands instead of the FOG Wells Fargo Bank

           account as stipulated in the contract for the Agua Prieta II Project.

                         THE SCHEME AND ARTIFICE TO DEFRAUD

          It was part of the scheme and artifice to defraud that:

1.        on or about September 16, 2009, the defendant, MARCO ANTONIO DELGADO,

doing business as the law firm Delgado & Associates, P.C. (D&A), entered into an agreement

with FOG, entitled "Memorandum of Understanding," which acknowledged that D&A had

assisted FGG in procuring the right to bid for the award of a contract with CFE to provide power


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generating equipment and maintenance for the equipment for the Agua Prieta II Project, and

stipulated that, should FGG be awarded the contract, D&A would be compensated for its

involvement;

2.     pursuant to the Memorandum of Understanding, the defendant, MARCO ANTONIO

DELGADO, agreed, in part, to prepare and submit the bid to CFE on behalf of FGG; in

exchange, the defendant, MARCO ANTONIO DELGADO, was to be paid 62.5 percent of the

difference between the purchase price to FGG of all of the equipment, transportation and field

services required to satisfy the bid requirements, and the amount for which the equipment was

ultimately sold to CFE, plus other expenses;

3.     in the     Memorandum     of Understanding, the defendant, MARCO ANTONIO

DELGADO, and FGG agreed that the estimated sales price of the equipment to CFE would be

one hundred and twenty-seven million dollars ($127,000,000); that the current negotiated

purchase price for the equipment was one hundred and five million dollars ($105,000,000), that

the price for the field services was four million, two hundred thousand dollars ($4,200,000), and

that the cost of transportation was undetermined;

4.     in or about October 2009, the defendant, MARCO ANTONIO DELGADO, as a

representative of FGG, submitted the bid for the Agua Prieta II Project, which offered the cost of

the equipment at one hundred and twenty-one million dollars ($121,000,000) and the cost of

services and maintenance at one hundred and twenty-one million, one hundred and seven

thousand dollars ($121,107,000); as part of the bid, FGG represented that if CFE were to award

the contract to FGG, FGG would obtain letters of credit in the amount of twenty million dollars

($20,000,000), to guarantee FGG's fulfillment of its obligations under the Agua Prieta II Project

contract;


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 5.        on or about November 19, 2009, CFE awarded the Agua Prieta II Project contract to

 FGG; the power generating equipment to be sold, through FOG to CFE, was comprised of two

 natural gas turbogenerators and one steam turbogenerator, both owned and warehoused by

 Mitsubishi Power Systems America, Inc. (MPSA);

 6.        on or about March 3, 2010, the defendant, MARCO ANTONIO DELGADO, without

the knowledge and consent of F.J.G., the sole owner and managing member of FGG, delivered to

CFE written instructions re-directing the deposit of payments to be made to FGG by CFE for the

Agua Prieta II Project into an account at the FirstCaribbean International Bank in the Turks and

Caicos Islands, which account was under the control of the defendant, MARCO ANTONIO

DELGADO, instead of the FGG Wells Fargo account stipulated in the contract between FGG

and CFE for the Agua Prieta II Project, which account was under the control of F.J.G.;

7.        the defendant, MARCO ANTONIO DELGADO, lied to F.J.G. concerning the change in

location for the deposits from CFE by claiming that CFE made the decision to change the bank

account to a bank in the Turks and Caicos Islands instead of the FGG bank account in El Paso,

Texas;

     8.   the defendant, MARCO ANTONIO DELGADO, intended to use and did use the money

that had been fraudulently deposited into the FirstCaribbean International Bank account in the

Turks and Caicos Islands, which account was controlled by defendant, MARCO ANTONIO

DELGADO, for his personal enrichment;

9.        in order to transfer some of the funds from the FirstCaribbean International Bank account

to himself, the defendant, MARCO ANTONIO DELGADO, caused his accountant to open a

new bank account in El Paso, Texas in his/her name, rather than in the defendant's name;




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10.      on or about January 10, 2010, the defendant, MARCO ANTONIO DELGADO, wrote

and transmitted a fraudulent and fictitious letter to CFE, which letter the defendant purported to

be from an MPSA Vice President of New Projects, to F.J.G., as president of FGG, and in which

the defendant falsely reported that MPSA had reviewed the "desirability of pledging its

equipment instead of posting an LC (letter of credit) as discussed;" and the defendant apparently

forged the signature and letterhead of said MPSA official, when the defendant, MARCO

ANTONIO DELGADO, knew that on December 28, 2009, MPSA sent a letter to FOG,

expressly prohibiting FGG from using MPSA-owned equipment as collateral to fulfill FGG's

obligation to provide letters of credit to CFE;

11.      despite the fact that MPSA told FGG and the defendant, MARCO ANTONIO

DELGADO, that is was "unacceptable" to use the MPSA equipment as collateral, and despite

the fact that FGG contractually agreed to provide letters of credit to CFE, the defendant,

MARCO ANTONIO DELGADO, did, in fact, pledge the MPSA equipment as collateral, to

fulfill that term of the FGG contract with CFE, so that CFE would begin to transfer funds to

FGG pursuant to the defendant's new instructions for the routing of the funds;

12.     to facilitate the success of the CFE contract with FGG, the defendant, MARCO

ANTONIO DELGADO, never informed MPSA that he had pledged their equipment as

collateral.

                                       THE WIRE FRAUD

        Beginning on or about April     1,   2009 and continuing to and including to on or about

November 12, 2012, in the Western District of Texas, the Republic of Mexico, the Turks and

Caicos Islands and elsewhere, the Defendant,

                                MARCO ANTONIO DELGADO
                                 a.k.a. Marco Delgado Licon,

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devised and intended to devise a scheme and artifice to defraud and to obtain money and

property by means of materially false and fraudulent pretenses, representations, and promises;

and, for the purpose of executing and attempting to execute the scheme and artifice to defraud

and to obtain money and property, did knowingly transmit and cause to be transmitted, by means

of wire communications in interstate and foreign commerce, writings, signs, signals, pictures and

sounds; to wit: on March 8, 2010, the defendant caused to be sent a wire transfer of funds in the

amount of approximately twenty million dollars ($20,000,000) from a bank account in the

Republic of Mexico to a bank in the Turks and Caicos Islands, in violation of Title 18, United

States Code, Section 1343.



                                         COUNT TWO
                                 (18 U.S.C. § 1343 - Wire Fraud)

       The Introduction and Scheme and Artifice to Defraud recited in Count One of this

Indictment are incorporated by reference in their entirety as if fully set forth herein.

       Beginning on or about April 1, 2009 and continuing to and including to on or about

 November 12, 2012, in the Western District of Texas, the Republic of Mexico, the Turks and

 Caicos Islands and elsewhere, the defendant,

                                 MARCO ANTONIO DELGADO
                                  a.k.a. Marco Delgado Licon,

 devised and intended to devise a scheme and artifice to defraud and to obtain money and

 property by means of materially false and fraudulent pretenses, representations, and promises;

 and, for the purpose of executing and attempting to execute the scheme and artifice to defraud

 and to obtain money and property, did knowingly transmit and cause to be transmitted, by

 means of wire communications in interstate and foreign commerce, writings, signs, signals,
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 pictures and sounds; to wit: on July 6, 2010, the defendant caused to be sent a wire transfer of

 funds in the amount of approximately twelve million dollars ($12,000,000) from a bank

 account in the Republic of Mexico to a bank in the Turks and Caicos Islands, in violation of

 Title 18, United States Code, Section 1343.



                                         COUNT THREE
                                 (18 U.S.C. § 1343 - Wire Fraud)

       The Introduction and Scheme and Artifice to Defraud recited in Count One of this

Indictment are incorporated by reference in their entirety as if fully set forth herein.

       Beginning on or about April 1, 2009 and continuing to and including to on or about

 November 12, 2012, in the Western District of Texas, the Republic of Mexico, the Turks and

 Caicos Islands and elsewhere, the defendant,

                                 MARCO ANTONIO DELGADO
                                  a.k.a. Marco Delgado Licon,

devised and intended to devise a scheme and artifice to defraud and to obtain money and

property by means of materially false and fraudulent pretenses, representations, and promises;

and, for the purpose of executing and attempting to execute the scheme and artifice to defraud

and to obtain money and property, did knowingly transmit and cause to be transmitted, by means

of wire communications in interstate and foreign commerce, writings, signs, signals, pictures and

sounds; to wit: on February 11, 2010, the defendant, MARCO ANTONIO DELGADO,

transmitted and caused to be transmitted an email containing a letter from F.J.G., as president of

FGG, to an MPSA Vice President of New Projects, stating that "MPSA will not will be

responsible for any Letter of Credit," despite the fact that the defendant had already caused




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MPSA's equipment to be pledged as collateral in order to fulfill FGG's obligation to provide

letters of credit to CFE, in violation of Title 18, United States Code, Section 1343.



                                  COUNTS FOUR THROUGH TEN
             (18 U.S.C. § 1956(a)(2)(B)(i) - Laundering of Monetary Instruments)

       The Introduction and Scheme and Artifice to Defraud recited in Count One of this

Indictment are incorporated by reference in their entirety as if fully set forth herein.

       On or about the dates set forth below, in the Western District of Texas, the Turks and

 Caicos Islands and elsewhere, the Defendant,

                                  MARCO ANTONIO DELGADO
                                   a.k.a. Marco Delgado Licon,

did transmit and transfer and attempt to transmit and transfer monetary instruments and funds to

a place in the United States from and through a place outside the United States, knowing that the

monetary instruments and funds involved in the transmission and transfer represented the

proceeds of some form of unlawful activity, and knowing that such transmission and transfer was

designed in whole and in part to conceal and disguise the nature, the location, the source, the

ownership and the control of the proceeds of specified unlawful activity, to wit, Title 18, United

States Code, Section 1343 (Wire Fraud):

COUNT           DATE                                     DESCRIPTION
FOUR         October 26, 2010         Transmission and transfer of approximately $150,000.00
                                      from an account in the Turks and Caicos Islands to an
                                      account in El Paso, Texas
FIVE         December 15, 2010        Transmission and transfer of approximately $100,000.00
                                      from an account in the Turks and Caicos Islands to an
                                      account in El Paso, Texas
SIX          February   1, 2011       Transmission and transfer of approximately $70,000.00
                                      from an account in the Turks and Caicos Islands to an
                                      account in El Paso, Texas
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COUNT            DATE                                 DESCRIPTION
SEVEN         February 23, 2011       Transmission and transfer of approximately $150,000.00
                                      from an account in the Turks and Caicos Islands to an
                                      account in El Paso, Texas
EIGHT         April 7, 2011           Transmission and transfer of       approximately $75,000.00
                                      from an account in the Turks       and Caicos Islands to an
                                      account in El Paso, Texas
NINE          May 25, 2011            Transmission and transfer of       approximately $50,000.00
                                      from an account in the Turks       and Caicos Islands to an
                                      account in El Paso, Texas
TEN           June 27, 2011           Transmission and transfer of       approximately $50,000.00
                                      from an account in the Turks       and Caicos Islands to an
                                      account in El Paso, Texas,

all in violation of Title 18, United States Code, Section 1956(a)(2)(B)(i).

                         COUNTS ELEVEN THROUGH NINETEEN
       (18 U.S.C. § 1957 - Engaging in Monetary Transactions in Property Derived from
                                 Specified Unlawful Activity)

        The Introduction and Scheme and Artifice to Defraud recited in Count One of this

 Indictment are incorporated by reference in their entirety as if fully set forth herein.

          On or about the dates set forth below, in the Western District of Texas, the District of

 New Mexico, the Turks and Caicos Islands and elsewhere, the Defendant,

                                  MARCO ANTONIO DELGADO
                                   a.k.a. Marco Delgado Licon,

did knowingly engage and attempt to engage in the following monetary transactions, in and

affecting interstate and foreign commerce, by and through and to a financial institution, in

criminally derived property of a value greater than $10,000, that is, the deposit, withdrawal,

transfer, and exchange of funds and monetary instruments, such property having been derived

from specified unlawful activity, to wit, Title 18, United States Code, Section 1343 (Wire

Fraud):
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COUNT            DATE                    MONETARY TRANSACTION
ELEVEN           May 19, 2010            Transfer of approximately $375,000.00 from an account
                                         in the Turks and Caicos Islands to a Wells Fargo
                                         account in the United States
TWELVE           July 14, 2010           Transfer of approximately $200,000.00 from an account
                                         in the Turks and Caicos Islands to a Mellon Bank
                                         account in the United States
THIRTEEN         August 6, 2010          Transfer of approximately $70,000.00 from an account
                                         in the Turks and Caicos Islands to a Bank of the West
                                         account in the United States
FOURTEEN         December 10, 2010       Transfer of approximately $200,000.00 from an account
                                         in the Turks and Caicos Islands to a Bank of the West
                                         account in the United States
FIFTEEN          March 17, 2011          Transfer of approximately $152,000.00 from an account
                                         in the Turks and Caicos Islands to a Centinel Bank of
                                         Taos account in the United States
SIXTEEN          June 2, 2011            Transfer of approximately $40,000.00 from an account
                                         in the Turks and Caicos Islands to a Bank of the West
                                         account in the United States
SEVENTEEN January 5, 2012                Transfer of approximately $59,151.27 from an account
                                         in the Turks and Caicos Islands to a Compass Bank
                                         account in the United States
EIGHTEEN         March 30, 2012          Transfer of approximately $46,655.00 from an account
                                         in the Turks and Caicos Islands to a WestStar Bank
                                         account in the United States
NINETEEN         September 27, 2012      Transfer of approximately $150,000.00 from an account
                                         in the Turks and Caicos Islands to a Wells Fargo
                                         account in El Paso, Texas,

 all in violation of Title 18, United States Code, Section 1957.


              NOTICE OF GOVERNMENT'S DEMAND FOR FORFEITURE

              Upon conviction of one or more of the fraud offenses set forth in Counts One

 through Three of this Indictment, the Defendant,

                                 MARCO ANTONIO DELGADO
                                  a.k.a. Marco Delgado Licon,




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shall forfeit to the United States, pursuant to 18 U.S.C.   §   981(a)(l)(C) and 28 U.S.C.     §   2461,

all property, real and personal, that constitutes or is derived from proceeds traceable to the

offenses, including but not limited to the following:

      a.     a sum of money in United States currency representing the amount of proceeds
             obtained as a result of the offenses set forth in Counts One, Two, and Three;

      b.     approximately $2,589,889 in funds on deposit in the FirstCaribbean International
             Bank Account, number 10286872, and any and all property traceable thereto;

      c.     real property and appurtenances located at 1109 Cerrito Feliz Lane, El Paso,
             Texas, 79912, with all improvements and attachments thereon, and any and all
             property traceable thereto;

      d.     all furniture, furnishings, and other properties located at 1109 Cerrito Feliz Lane,
             El Paso, Texas, that were purchased by Marco Delgado at Charlotte's Fine
             Furnishings, using funds from the FirstCaribbean International Bank Account,
             number 10286872;

      e.     33 Firehouse Road, Apt. No. 19 in Building "C"         of The Kandahar Condominium
             Project, Taos Ski Valley, New Mexico, 87525;

      £      one 2011 Chevrolet Suburban, bearing Vehicle Identification Number ("VIN")
             1 GNSKJE3XBR1 45421;



      g.     one 2012  Land   Rover,             Range          Rover    Evoque,     bearing       VIN
             SALVV2BG8CH625O29; and

      h.     one 2010 Jeep Wrangler, bearing VIN 1J4BA6H17AL178181.

      2.     Upon conviction of one or more of the money laundering offenses alleged in

Counts Four through Nineteen of this Indictment, the Defendant,

                               MARCO ANTONIO DELGADO
                                a.k.a. Marco Delgado Licon,

shall forfeit to the United States, pursuant to 18 U.S.C.   §   982, all property, real and personal,

involved in such offenses, and any property traceable to such property, including but not

limited to the following property:

      a.     a sum of money in United States currency representing the amount of property
             involved in the offenses set forth in Counts Four through Nineteen;

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     b.      approximately $2,589,889 in funds on deposit in the FirstCaribbean International
             Bank Account, number 10286872, and any and all property traceable thereto;

     c.      real property and appurtenances located at 1109 Cerrito Feliz Lane, El Paso,
             Texas, 79912, with all improvements and attachments thereon, and any and all
             property traceable thereto;

     d.      all furniture, furnishings, and other properties located at 1109 Cerrito Feliz Lane,
             El Paso, Texas, that were purchased by Marco Delgado at Charlotte's Fine
             Furnishings, using funds from FirstCaribbean International Bank Account,
             number 10286872;

     e.      33 Firehouse Road, Apt. No. 19 in Building "C"      of The Kandahar Condominium
             Project, Taos Ski Valley, New Mexico, 87525;

     f.      one 2011 Chevrolet Suburban, bearing VIN 1 GNSKJE3XBR1 45421;

     g.      one  2012 Land   Rover,             Range      Rover     Evoque,     bearing    VJN
             SALVV2BG8CH625O29; and

     h.      one 2010 Jeep Wrangler, bearing V1N 1J4BA6H17AL178181.

                                 Substitute Assets Provision

     If any of the above-described forfeitable property, as a result of any act or omission of the

defendant:

     (1) cannot be located upon the exercise of due diligence;

     (2) has been transferred or sold to, or deposited with, a third person;

     (3) has been placed beyond the jurisdiction of the Court;

     (4) has been substantially diminished in value; or

     (5) has been commingled with other property which cannot be subdivided without

     difficulty,




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 it is the intent of the United States to seek forfeiture, pursuant to 21 U.S.C.   §   853(p), of any

 other propertY of said defendant up to the value of the abovedeSCribed forfeitable property.

                                                    A TRUELNAL SIGNATURE
                                                          REDACTED PURSUANT TO
                                                         s-GOVERNMENT ACT OF 2002

                                                    FOREPERSON OF THE GRAND JURY


ROBERT PITMAN
U1TED STATES ATTORNEY


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